                                          Case 3:20-cv-03131-JSC Document 508 Filed 12/02/22 Page 1 of 1




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                                   4                                UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7     IN RE: GASOLINE SPOT MARKET                      Case No. 20-cv-03131-JSC

                                   8     ANTITRUST LITIGATION
                                                                                          AMENDED CLASS CERTIFICATION
                                   9                                                      SCHEDULE

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Following the case management conference held on December 1, 2022, the class

                                  14   certification schedule is amended to as follows:

                                  15      Class Certification/Supporting Expert Report(s) Due:              January 6, 2023

                                  16      Class Certification Opposition/Supporting Expert Report(s) Due:   April 14, 2023

                                  17      Class Certification Reply Due:                                     June 5, 2023

                                  18      Class Certification Hearing:                                       July 12, 2023, at 10:00 a.m.

                                  19          The Court will hold a further video case management conference on February 9, 2023, at

                                  20   1:30 p.m. with an updated joint case management conference statement due one week in advance.

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                                  22          IT IS SO ORDERED.

                                  23   Dated: December 2, 2022

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                                                                                                 JACQUELINE SCOTT CORLEY
                                  26                                                             United States District Judge
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